          Case: 3:23-cv-01423 Doc #: 1 Filed: 07/24/23 1 of 12. PageID #: 1




                      IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF OHIO
                                WESTERN DIVISION

 ZERMATT HOLDINGS, LLC,                      :       Case No. _______________________
 a North Carolina Limited Liability          :
 Company                                     :       Judge: _________________________
 2115 Rexford Road, Suite 311                :
 Charlotte, NC 28222                         :
                                             :
 and                                         :
                                             :       COMPLAINT AND DEMAND FOR
 WFA of SAN DIEGO, LLC,                      :       JURY TRIAL
 a North Carolina Limited Liability          :
 Company                                     :
 3170 Fourth Avenue, Third Floor             :
 San Diego, CA 92103                         :
                             Plaintiffs,     :
                                             :
 v.                                          :
                                             :
 MARTIN CHRISTOPHER (“CHRIS”)                :
 COOPER, an individual                       :
 5646 Baronswood Circle                      :
 Toledo, Ohio 43615-7351                     :
                                             :
 and                                         :
                                             :
 CHRIS COOPER & COMPANY, INC.,               :
 an Ohio Corporation,                        :
 5555 Airport Highway, Suite 115             :
 Toledo, OH 43615                            :
                                             :
 Serve via Statutory Agent:                  :
 M. Christopher Cooper                       :
 5810 Southwyck Boulevard, Suite 100         :
 Toledo, OH, 43614-1514                      :
                                             :
                         Defendants.         :

       Now comes Plaintiffs Zermatt Holdings, LLC (“Zermatt”) and WFA of San Diego, LLC

(“WFASD”) (Zermatt and WFASD are jointly referred to as “Plaintiffs”), and for their complaint




                                                 1
             Case: 3:23-cv-01423 Doc #: 1 Filed: 07/24/23 2 of 12. PageID #: 2




against Defendants Martin Christopher “Chris” Cooper (“Cooper”) and Chris Cooper & Company,

Inc. (“CCCI”) (Cooper and CCCI are jointly referred to as “Defendants”) hereby state as follows:

                             SUMMARY AND NATURE OF ACTION

        1.      This is a claim for intentional interference with a business relationship, deceptive

trade practices under Ohio Revised Code §§ 4165.02(A)(10) and 4165.03, unjust enrichment,

quantum meruit, and, alternatively, unfair competition. Zermatt is a private holding company with

a portfolio of interests including but not limited to an active presence in financial services and

wealth & asset management. WFASD is a subsidiary of Zermatt and is an SEC registered

investment advisor, registered in several states including, but not limited to, California, North

Carolina, and Ohio.

        2.      On January 1, 2020, Zermatt, by and through WFASD, purchased substantially all

of the assets of an SEC registered investment advisor, Wheeler, Frost Associates, Inc., a California

corporation (“WFA”), including but not limited to substantially all of the book of business to

whom WFA provided investment advisory services.

        3.      The book of clients acquired by Plaintiffs from WFA included several clients that

had previously been referred by CCCI to WFA for a referral fee.

        4.      Cooper, individually and by and through CCCI, provides various services including

but not limited to elder care, tax preparation, and representation and retirement planning.

        5.      At all times applicable, neither Cooper nor CCCI were a competitor of WFASD as,

neither Cooper nor CCCI are registered with the SEC, nor any state, as an investment advisor, or

an investment advisor representative. 1




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 From approximately August 9, 1999 through December 31, 2013, CCCI was registered as an investment advisor
with the SEC and Cooper was registered as an investment advisor representative.


                                                     2
             Case: 3:23-cv-01423 Doc #: 1 Filed: 07/24/23 3 of 12. PageID #: 3




        6.       In satisfaction of any interest that CCCI may have had to any future revenue

generated by the CCCI Referrals and to preserve Plaintiffs’ unfettered right to the acquired CCCI

Referrals, $369,326.00 of the purchase price paid by Plaintiffs was paid to CCCI.

        7.       After March 21, 2023, Cooper and CCCI have intentionally used various improper

means, including, but not limited to, false misrepresentations of fact, to cause known clients of

Zermatt and WFASD to terminate their business relationship with Zermatt and WFASD.

        8.       As a direct and proximate result of Cooper and CCCI’s post March 21, 2023

deceptive trade practices and intentional interference with Plaintiff’s business relationships,

Plaintiffs have lost several business relationships and suffered past and future damages in excess

of $1,092,000.

        9.       Pursuant to the equitable principles of unjust enrichment and quantum meruit, it is

inequitable and unjust for CCCI to maintain the benefit of $369,326.00 while engaging in conduct

damaging Plaintiffs’ business relationships.

        10.      To the extent that either Cooper or CCCI would be found to be a competitor of

WFASD, which they are not, Defendants used improper means to intentionally interfere with

WFASD; and Defendants actions also constitute unfair competition under Ohio common law.

                               PARTIES. JURISDICTION, AND VENUE

        11.      Zermatt is a North Carolina limited liability company having an office and principal

place of business located at 2115 Rexford Road, Suite 311, Charlotte, NC 28222.

        12.      WFASD is a North Carolina limited liability company having an office and

principal place of business located at 3170 Fourth Avenue, Third Floor, San Diego, CA 92103

        13.      Cooper is an individual residing at 5646 Baronswood Circle, Toledo, Ohio 43615-

7351.




                                                  3
          Case: 3:23-cv-01423 Doc #: 1 Filed: 07/24/23 4 of 12. PageID #: 4




       14.      CCCI is an Ohio corporation, with its principal place of business located at 5555

Airport Highway, Suite 115, Toledo, OH 43615

       15.     This Court has diversity subject matter jurisdiction pursuant to 28 U.S.C. § 1332

because the parties are diverse (Zermatt is a citizen of North Carolina, WFASD is a citizen of

either California or North Carolina, Cooper and CCCI are both citizens of Ohio) and the amount

in controversy exceeds $75,000.

       16.     This Court has personal jurisdiction over each of the Defendants as set forth in Ohio

Rev. Code § 2307.382(A), because they either: transacted business in Ohio, contracted for services

to be performed in Ohio and did in fact regularly transact business in Ohio; caused tortious injury

to Plaintiffs in this state by an act or omission or omission in this state; caused tortious injury to

Plaintiffs in this state by an act or omission outside this state and regularly does business in this

state and derives substantial revenue from services rendered in this state; and/ or caused tortious

injury to Plaintiffs in this state by an act outside this state committed with the purpose of injuring

others along with the reasonable expectation that Plaintiffs would be injured in this state.

       17.     Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(1) and (2) and

1391(c)(2), because a substantial part of the events and omissions giving rise to the claims occurred

in this judicial district and the defendants may be sued in any judicial district in which they are

subject to personal jurisdiction.

                           ALLEGATIONS COMMON TO ALL CLAIMS

       18.     Plaintiffs’ purchase of the assets of WFA on January 1, 2020, included, but was not

limited to: i) the payment by Plaintiffs of substantial sums split among the various shareholders of

WFA, including the majority shareholder of WFA, Peter R. Wheeler (“Wheeler”); and ii)

execution of an employment agreement with WFASD by each of the WFA shareholders and




                                                  4
          Case: 3:23-cv-01423 Doc #: 1 Filed: 07/24/23 5 of 12. PageID #: 5




several WFA employees, which agreements included various non-competition covenants and non-

disclosure covenants.

        19.     Several years prior to Plaintiffs’ purchase of the assets of WFA, WFA had entered

into a solicitor agreement with CCCI, whereby WFA paid CCCI 50% of the fees collected from

clients referred by CCCI.

        20.     As part of WFA and CCCI’s compliance with the Investment Advisors Act of 1940

and 17 CFR 275.206(4)-1, the prior solicitor agreement was set forth in writing.

        21.     As of January 1, 2020, as part of the purchase of WFA’s assets, any and all clients

of WFA which had been referred by CCCI, the vast majority of which are located in Ohio, were

transferred to Plaintiffs (the “CCCI Referrals”).

        22.     In satisfaction of any interest that CCCI may have had to any future revenue

generated by the CCCI Referrals, and to preserve Plaintiffs’ unfettered right to the acquired CCCI

Referrals, on or about January 1, 2020, $369,326.00 of the purchase price paid by Plaintiffs was

paid to CCCI.

        23.     On or before January 1, 2020, WFA terminated the solicitor relationship with

CCCI.

        24.     On or about January 1, 2023, Cooper individually and on behalf of CCCI sent letters

to the CCCI Referrals (the “Disparaging Letters”) with the intention that the CCCI referrals

terminate their business relationship with Plaintiffs and transfer their business to Peter R. Wheeler.

        25.     The Disparaging Letters make various misleading, disparaging and false statements

regarding the services provided by Plaintiffs and the future of Plaintiff’s business, including but

not limited to that: i) Plaintiffs “future vision of the business” threatens the “smooth transition” of

the business and the protection of the “services” that WFA “had successfully provided for many




                                                    5
          Case: 3:23-cv-01423 Doc #: 1 Filed: 07/24/23 6 of 12. PageID #: 6




years”; and ii) the issues with services provided by WFASD necessitated that Cooper was in the

process of “moving my accounts to Pete”, which has not occurred.

       26.      Since neither Cooper nor CCCI is a competitor of Plaintiffs, the Disparaging Letters

were sent by Cooper and CCCI, solely because Cooper is a “former business contact and long-

time friend of Mr. Wheeler”.

       27.      To the extent that Cooper or CCCI have received compensation for the solicitations

on behalf of Wheeler, Defendants actions constitute improper conduct in violation of Investment

Advisors Act of 1940 and 17 CFR 275.206(4)-1.

       28.      As a direct and proximate result of the Disparaging Letters, throughout January

2023 and early February 2023 several of the CCCI referrals in Ohio transferred their accounts from

WFASD to Wheeler.

       29.      On February 7, 2023, counsel for Plaintiffs sent a cease-and-desist letter to Cooper

and CCCI including a notice to preserve all evidence.

       30.      On March 21, 2023, Plaintiffs agreed to release claims against Cooper, individually,

as a result of those acts or omissions by Cooper which occurred on or before March 21, 2023 (but

not acts or omissions occurring after March 21, 2023).

       31.      Plaintiffs did not release, and have not released, any claims Plaintiffs may have

against CCCI.

       32.      Subsequent to March 21, 2023, Cooper and CCCI engaged in further contact with

various CCCI Referrals (the majority of which are located in Ohio); and renewed Defendants’

prior efforts to have the CCCI Referrals terminate their business relationship with Plaintiffs.




                                                 6
             Case: 3:23-cv-01423 Doc #: 1 Filed: 07/24/23 7 of 12. PageID #: 7




       33.      As a direct and proximate result of Cooper and CCCI actions after March 21, 2023,

several of the CCCI Referrals have terminated their business relationship with Plaintiffs after

March 21, 2023.

       34.      As a direct and proximate result of Cooper’s and CCCI’s actions after March 21,

2023, Plaintiffs have lost several business relationships and suffered past and future damages in

excess of $1,092,000.

                COUNT ONE-INTENTIONAL INTERFERENCE WITH A BUSINESS
                                RELATIONSHIP

   35. Plaintiffs restate each allegation set forth above as if fully set forth herein.

   36. Since on or about January 1, 2020, Plaintiffs had a business relationship with the CCCI

Referrals.

   37. Defendants knew that Plaintiffs had a business relationship with the CCCI Referrals.

   38. After March 21, 2023, Defendants, without privilege to do so and using improper means,

intentionally interfered with Plaintiffs’ business relationship with the CCCI Referrals causing

several of the CCCI Referrals to terminate their business relationship with Plaintiffs.

   39. As a direct and proximate result of Defendants intentional interference with Plaintiffs

business relationships, Plaintiffs have suffered past and future damages in excess of $1,092,000.

              COUNT TWO – DECEPTIVE TRADE PRACTICE UNDER OHIO REVISED
                            CODE §§4165.02(A)(10) and 4165.03

       40.      Plaintiffs restate each allegation set forth above as if fully set forth herein.

       41.      Pursuant to Ohio Revised Code §4165.02, Defendants engaged in a deceptive trade

practice when, in the course of Defendants’ business, Defendants, as set forth above, disparaged

the services and or business of Plaintiffs by false representation of fact.




                                                   7
             Case: 3:23-cv-01423 Doc #: 1 Filed: 07/24/23 8 of 12. PageID #: 8




           42.   Pursuant to Ohio Revised Code §4165.02(B), Plaintiffs need not prove competition

between Plaintiffs and Defendants.

           43.   Defendants restated or otherwise renewed the effect of Defendants deceptive trade

practices during contact with the CCCI Referrals after March 21, 2023.

           44.   As a direct and proximate result of Defendants post March 21, 2023 restatement or

renewal of the deceptive trade practices, Plaintiffs have lost several business relationships and

suffered past and future damages in excess of $1,092,000.

           45.   Plaintiffs are likely to be damaged further by Defendants continued deceptive trade

practices.

           46.   Pursuant to Ohio Revised Code §4165.03(A), Plaintiffs are entitled to the recovery

of compensatory damages and an award of injunctive relief if Plaintiffs are likely to be damaged

further.

           47.   The Defendants willfully engaged in, restated, or otherwise renewed Defendants’

deceptive trade practice, knowing it to be deceptive.

           48.   Pursuant to Ohio Revised Code §4165.03(B), Plaintiffs are entitled to an award of

attorney’s fees as a result of Defendants willfully engaging, restating, or otherwise renewing a

deceptive trade practice knowing it to be deceptive.

           49.   Pursuant to Ohio Revised Code §4165.03(C), Plaintiffs are entitled to the relief

provided by Ohio Revised Code §4165.03, in addition to civil remedies otherwise available against

the same conduct under the common law or other sections of the Revised Code.

                              COUNT THREE – UNJUST ENRICHMENT

           50.      Plaintiffs restate each and every allegation set forth above as if fully rewritten

herein.




                                                   8
             Case: 3:23-cv-01423 Doc #: 1 Filed: 07/24/23 9 of 12. PageID #: 9




          51.   Defendants were conferred the benefit of the payment of $369,326.00 of the

purchase price paid by Plaintiffs, in satisfaction of any interest that CCCI may have had to any

future revenue generated by the CCCI Referrals and to preserve Plaintiffs’ unfettered right to the

acquired CCCI Referrals, $369,326.00.

          52.   Defendants had knowledge of and received the benefit of the payment of

$369,326.00 as set forth above.

          53.   Despite Defendants’ awareness of receiving such benefit, Defendants have

proceeded to intentionally engage in conduct designed to destroy Plaintiffs’ relationship with the

CCCI Referrals causing past and future damages in excess of $1,092,000.

          54.   Defendant’s retention of the benefit of the payment of $369,326.00 as set forth

above, while proceeding to intentionally engage in conduct designed to destroy Plaintiffs’

relationship with the CCCI Referrals, would be inequitable and unjust.

                                 COUNT FOUR – QUANTUM MERUIT

          55.   Plaintiffs restate each and every allegation set forth above as if fully rewritten

herein.

          56.   A $369,326.00 portion of the purchase price paid by Plaintiffs was conferred as a

benefit to Defendants to satisfy any interest that CCCI may have had to any future revenue

generated by the CCCI Referrals and to preserve Plaintiffs’ unfettered right to the acquired CCCI

Referrals.

          57.   Such benefit was conveyed to CCCI in reliance upon the representation and

promises by Defendants that Plaintiff had acquired the right to the CCCI Referrals.

          58.   Defendants had knowledge of and received the benefit of the $369,326.00 portion

of the purchase price paid by Plaintiffs.




                                                9
           Case: 3:23-cv-01423 Doc #: 1 Filed: 07/24/23 10 of 12. PageID #: 10




          59.      Despite Defendants awareness of receipt of the benefit of the $369,326.00 portion

of the purchase price paid by Plaintiffs, Defendants have proceeded to intentionally engage in

conduct designed to destroy Plaintiffs’ relationship with the CCCI Referrals.

          60.      Defendant’s retention of the benefit of the payment of $369,326.00, while not

honoring Plaintiffs unfettered right to a business relationship with the CCCI Referrals, would be

inequitable and unjust.

                                   COUNT FIVE – UNFAIR COMPETITION

          61.      Plaintiff restates each and every allegation set forth above as if fully rewritten

herein.

          62.      As set forth above, Defendants engaged in the circulation of false rumors to harm

the business of Plaintiffs.

          63.      As set forth above, Defendants engaged in the publication of false or misleading

statements to harm the business of Plaintiffs.

          64.      As a direct and proximate result of Defendants post March 21,2023, restatement or

renewal of the false rumors and published statements, Plaintiffs have lost several business

relationships and suffered past and future damages in excess of $1,092,000.

          65.      To the extent Defendants are deemed to be a competitor of Plaintiffs, Defendants

actions constitute unfair competition pursuant to Ohio common law.


          WHEREFORE, Plaintiffs Zermatt Holdings, LLC and WFA of San Diego, LLC pray for

judgment against Defendants Martin Christopher “Chris” Cooper (and Chris Cooper & Company,

Inc. in the following manner:

          a. As to Count One, an award of compensatory damages in favor of Plaintiffs in an amount

                to be determined at trial, but in excess of $1,092,000;



                                                     10
 Case: 3:23-cv-01423 Doc #: 1 Filed: 07/24/23 11 of 12. PageID #: 11




b. As to Count Two: 1) an award of compensatory damages in favor of Plaintiffs in an

   amount to be determined at trial, but in excess of $1,092,000; 2) preliminary and

   permanent injunctive relief barring Defendants from, directly or indirectly, in any

   manner, using any means, soliciting, encouraging or otherwise inducing any of the

   CCCI Referrals to terminate or alter the CCCI Referrals business relationship with

   Plaintiffs and 3) an award of attorneys’ fees in favor of Plaintiffs pursuant to Ohio

   Revised Code §4165.03(B);

c. As to Count Three, a judgment in favor of Plaintiff awarding monetary damages in an

   amount to be determined, but in excess of $369,326.00;

d. As to Count Four, a judgment in favor of Plaintiff awarding monetary damages in an

   amount to be determined, but in excess of $369,326.00;

e. As to Count Five: an award of compensatory damages in favor of Plaintiffs in an

   amount to be determined at trial, but in excess of $1,092,000;

f. On all Claims, pre- and post-judgment interest, costs, attorneys’ fees, and all other relief

   at law or in equity which the Court deems proper and just.

                                       Respectfully submitted,

                                       /s/ Peter A. Saba
                                       Peter A. Saba (0055535)
                                       Jeffrey M. Nye (0082247)
                                       Joshua M. Smith (0092360)
                                       STAGNARO, SABA
                                       & PATTERSON CO., L.P.A.
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                                          11
 Case: 3:23-cv-01423 Doc #: 1 Filed: 07/24/23 12 of 12. PageID #: 12




                        DEMAND FOR TRIAL BY JURY

Plaintiff demands a jury on all issues triable to a jury.

                                       Respectfully submitted,

                                       /s/ Peter A. Saba
                                       Peter A. Saba (0055535)




                                          12
